                               Exhibit 2




Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 1
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 2
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 3
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 4
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 5
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 6
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 7
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 8
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 9
                                       of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 10
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 11
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 12
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 13
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 14
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 15
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 16
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 17
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 18
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 19
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 20
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 21
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 22
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 23
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 24
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 25
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 26
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 27
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 28
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 29
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 30
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 31
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 32
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 33
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 34
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 35
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 36
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 37
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 38
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 39
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 40
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 41
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 42
                                        of 43
Case: 19-30088   Doc# 2864-2   Filed: 07/03/19   Entered: 07/03/19 18:48:47   Page 43
                                        of 43
